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AO 100 (7/93) Agreement to Forfeit Property

United States District Court Do

MIDDLE DISTRICT OF FLORIDA

UNITED STATES OF AMERICA AGREEMENT TO FORFEIT PROPERTY
vy. CASE No. 8:18-cr-192-T-23CPT
BRYAN GOMEZ NEVAREZ

I/we, the undersigned, acknowledge pursuant to 18 U.S.C. §3142(c)(1)(B)(xi) in consideration of the release of
the defendant that I/we and my/our personal representatives jointly and severally agree to forfeit to the United States of
America the following property:

Property located at: 251 Calle Almagro, Urbanizacion Ciudad Real, Vega Baja, Puerto Rico, 00693.

and there has been posted with the court the following indicia of my/our ownership of the property: Original OR
Certified copy of Deed.

I/we further declare under penalty of perjury that | am/we are the sole owner(s) of the property described above
and that the property described above is not subject to any lien, encumbrance, or claim of right or ownership except
my/our own, that imposed by this agreement, and those listed below: FirstBank Puerto Rico, Mortgage Dept.

and that I/we will not alienate, further encumber, or otherwise willfully impair the value of my/our interest in the
property.

The conditions of this agreement are that the defendant, Bryan Gomez Nevarez, is to appear before this court
and at such other places as the defendant may be required to appear, in accordance with any and all orders and directions
relating to the defendant's appearance in this case, including appearance for violation ofa condition of defendant's release
as may be ordered or notified by this court or any other United States Court to which the defendant may be held to
answer or the cause transferred. The defendant is to abide by any judgment entered in such matter by surrendering to
serve any sentence imposed and obeying any order or direction in connection with such judgment.

It is agreed and understood that this is a continuing agreement (including any proceedings on appeal or review)
which shall continue until such time as the undersigned are exonerated.

If the defendant appears as ordered or notified and otherwise obeys and performs the foregoing conditions of this
agreement, then this agreement is to be void, but if the defendant fails to obey or perform any of these conditions, the
property described in this agreement shall immediately be forfeited to the United States.
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Forfeiture under this agreement for any breach of its conditions may be declared by any United States district court
having cognizance of the above entitled matter at the time of such breach, and if the property is forfeited and if the
forfeiture is not set aside or remitted, judgment may be entered upon motion in such United States district court against
each debtor jointly and severally for forfeiture of the property together with interest and costs, and execution may be
issued and the property secured as provided by the Federal Rules of Criminal Procedure and any other laws of the United
States of America. I/we hereby waive any claim to Homestead exemption as a defense to any demand or claim of
forfeiture arising under this bond.

This agreement is signed on May 3, 2018, at Tampa, Florida.

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DEFENDANT: eo Ley ADDRESS: 1222 Cedarwood Way, Clermont, FL 34714

SURETY: bb) LZ) ADDRESS: 251 Calle Almagro, Urbanizacion Ciudad Real,

Vega Baja, Puerto Rico 00693

 

 

 

 

Signed and acknowledged before me on May ¥ 2018. ZZ. Soar
&X Deputy U.S. Marshal or Deputy Clerk
Approved: On & Ax —
MARK A. PIZZO, U.S. MAGISTRATE JUDGE Deputy Clerk as to Surety
